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                           EXHIBIT 1
Filing Case 1:20-cv-22181-JEM
       # 105435593               Document
                     E-Filed 03/25/2020   1-2 Entered
                                        03:51:03 PM on FLSD Docket 05/26/2020 Page 2 of 12
                                                             IN THE CIRCUIT COURT OF THE 11TH
                                                             JUDICIAL CIRCUIT IN AND FOR MIAMI-
                                                             DADE COUNTY, FLORIDA

       JUANA L. EVANKS DAVIS, as                             GENERAL JURISDICTION DIVISION
       Personal Representative of the Estate of
       KENGGE A. EVANKS DAVIS,                               CASE NO:
       Decedent,
                                                             FLORIDA BAR NO.: 0131581
              Plaintiff,

       vs.

       PRINCESS CRUISE LINES, Ltd., (Corp.),

             Defendant.
       ____________________________________/

                                                   COMPLAINT

              Plaintiff, JUANA L. EVANKS DAVIS, as Personal Representative of the Estate of

       KENGGE A. EVANKS DAVIS on behalf of the Estate and its lawful survivors, through

       undersigned counsel, sues Defendant, PRINCESS CRUISE LINES, Ltd. (Corp.), and alleges as

       follows:

                                      JURISDICTIONAL ALLEGATIONS

              1.      This is an action for damages in excess of Fifteen Thousand Dollars,

       ($15,000.00), exclusive of interests and costs, which is within the jurisdiction of this Court.

              2.      At all times material, JUANA L. EVANKS DAVIS, hereinafter “JUANA

       EVANKS”, is the duly appointed Personal Representative of the Estate of KENGGE A. EVANKS

       DAVIS hereinafter, “EVANKS DAVIS ESTATE”.

              3.      At all times, Decedent, KENGGE A. EVANKS DAVIS, hereinafter

       “EVANKS DAVIS”, was a Honduran citizen and died on April 17, 2018, in Los Angeles,

       California.

              4.      At all times material, JUANA EVANKS was, and is, the decedent’s mother.

              5.      Decedent’s mother, JUANA EVANKS, was appointed as the PERSONAL

       REPRESENTATIVE of decedent’s estate as a matter of Honduran law on October 18, 2018.
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        6.      At all times material, Allison Dayana Evanks, hereinafter “ALLISON” is the natural

  born daughter of decedent, EVANKS DAVIS.

        7.      This Court has jurisdiction over this matter as Plaintiff’s claims arise under the

 Jones Act, 46 U.S.C. sec. 30401 et seq.—formerly known as 46 U.S.C. sec. 688 et seq—and

 General Maritime law.

        8.      At all times material hereto, Defendant, PRINCESS CRUISE LINES,

 Ltd., (Corp.), hereinafter “PRINCESS”, was, and is to this day, a vacation cruise company engaging

 in the operation and management of cruise vessels for the purposes of conducting substantial

 business throughout the world—including the United States of America, and more specifically

 South Florida. The Defendant, PRINCESS, specifically allows and uses the ports of Miami and port

 Everglade on a consistent basis for its’ passenger cruise lines.     Furthermore, the Defendant has

 local business offices, and counsel, in South Florida.

        9.      Furthermore, the Defendant, PRINCESS, at all times material hereto, personally or

 through an agent:

                a. Operated, conducted, engaged in, or carried on a business venture in this state and
                   / or county or had an office or agency in this state and/or county;
                b. Was engaged in substantial and not isolated activity within this state;
                c. Purposefully availed itself of the benefits of conducting activities within Florida
                   by purposefully directing its activities in and toward the state, thus obtaining the
                   benefits and protections of the state’s laws:
                d. Committed one or more of the acts stated in Fla.Stat. 48.081, 48.181, or 48.193;
                   and
                e. Operated vessels in the waters of this state including out of Fort Lauderdale and
                   Miami.

        10.     At all material times hereto, Decedent, EVANKS DAVIS, was

 employed by the Defendant, “PRINCESS CRUISE LINES”, as a seaman aboard the Defendant’s

 vessel, “The Ruby Princess”.




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        11.     The Defendant, PRINCESS CRUISE LINES, hired the Decedent to work on

 its’ vessel pursuant to an employment contract beginning and pursuant to the United States Supreme

 Court in Hellenic Lines Ltd., v. Rhoditis, 398 U.S. 306 (1970) this matter is governed by both

 general maritime law of the United States and the Federal Jones Act, 46 U.S.C. sec. 688 et seq.

        12.     At all times material hereto, Defendant, “PRINCESS CRUISE LINES”, was

 the owner and/or operator and/or managed and/or maintained and/or controlled the vessel, “Ruby

 Princess”, and/or was the bareboat charterer and/or was the owner pro hac vice, thereof, in

 coastwise, inter-coastal and foreign commerce.

        13.     At all material times hereto, Decedent, EVANKS DAVIS,

 obtained medical care and treatment aboard the Ruby Princess, and his medical care and treatment

 was monitored by the Defendant—or its’ agent(s)—pursuant to legal duties to maintain and cure

 owed to the decedent under The Jones Act.

        14.     On or about April 16th, 2018, at approximately 3:00 pm, Decedent EVANKS DAVIS

 presented himself to medical facilities aboard The Ruby Princess, seeking medical treatment owing

 to episodic bouts of nausea, vertigo, and frequent, violent and uncontrollable emesis, after falling ill

 during an employment-related stay in Cabo San Lucas, Mexico, while in service of the Ruby

 Princess.

        15.     Medical staff aboard the Ruby Princess treated the decedent by Administering

 Antibiotics but said antibiotics were not broad-spectrum antibiotics. Shortly thereafter—at

 approximately 10:30 pm—an announcement was made over the vessel’s p.a. system instructing all

 medical personnel to immediately report to the vessel’s clinic in response to an on-board medical

 emergency—now known to have been that of seaman, EVANKS DAVIS.

        16.     Due to the failure to properly diagnose, and as such provide correct antibiotics,

 EVANKS DAVIS, who was suffering from meningitis grew fatally ill.

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         17.    The Decedent was thereby transferred to Los Angeles, California for emergency

 treatment.

        18.     Upon arrival in Los Angeles, California the Decedent was hospitalized and

 died two days later, on April 18th, 2018.

                                                  COUNT I

                           SURVIVAL ACTION UNDER THE JONES ACT

        Plaintiff re-affirms and re-alleges every allegation set forth in Paragraphs 1 through 18 and

 further alleges:

        19.         As a result of Decedent’s status as a seaman and the Defendant’s

 relationship to Decedent as his contractual employer, Defendant, “PRINCESS CRUISE LINES”,

 owed the Decedent a non-delegable duty to provide him with prompt and adequate medical care for

 any illness and/or injuries he suffered or that manifested while in service to the Defendant’s vessel.

        20.         That duty includes, but is not limited to, ordering appropriate medical tests,

 arranging evaluations by appropriate specialists, rendering a timely diagnosis, and providing timely

 and appropriate medical care treatment and medications.

        21.         The Defendant breached its duty to provide prompt and adequate medical

 care to the Decedent in the following manner:

        (a)     Failing to have Decedent promptly evaluated and medically treated for his medical
                conditions;

        (b)     Failing to properly and promptly diagnose and assess Decedent’s medical conditions;

        (c)     Failing to perform and/or order necessary scans, tests and examinations to determine
                the extent and nature of Deceased’s medical conditions;

        (d)     Failing to promptly provide Decedent with reasonable and necessary medical care
                including shoreside care and the referral to appropriate specialists;




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          (e)      Failing to provide Decedent with the proper follow-up medical care and medical
                   treatment, including but not limited to appropriate follow-up appointments,
                   medications, and diagnostic testing, therapy; and

          (f)      and Other acts of negligence to be determined as discovery in this matter progresses.

          22.      The medical care and medical treatment provided to Decedent was

 inadequate, untimely, and resulted in a worsening of Decedent’s medical condition and eventual

 death.

          23.      As a direct and proximate result of the Defendant’s failure to provide the

 Decedent with prompt and adequate medical care the Decedent suffered bodily injury, disability,

 impairment, disfigurement, mental and emotional distress, mental anguish, pain and suffering, and

 the loss of life, the loss of capacity for the enjoyment of life, loss of wages and incurred medical

 expenses.

          WHEREFORE, Plaintiff demands a trial by jury and a judgment against Defendant for all

 damages permitted by law, costs and interest, and all other relief the Court deems appropriate.

                                                    COUNT II

                       CLAIM FOR WRONGFUL DEATH UNDER THE JONES ACT

          Plaintiff re-affirm and re-alleges every allegation set forth in Paragraphs 1 through 18 and

 further allege:

          24.      As a result of Decedent’s status as a seaman and the Defendant’s relationship to

 Decedent as his contractual employer, Defendant, “PRINCESS CRUISE LINES”, owed the

 Decedent a non-delegable duty to provide him with prompt and adequate medical care for any

 illness and/or injuries he suffered or that manifested while in service to the Defendant’s vessel.

 That duty includes, but is not limited to, ordering appropriate medical tests, arranging evaluations

 by appropriate specialists, rendering a timely diagnosis, and providing timely and appropriate

 medical care treatment and medications.

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        25.      The Defendant breached its duty to provide prompt and adequate medical

 care to the Decedent in the following manner:

        (a)     Failing to have Decedent promptly evaluated and medically treated for his medical
                conditions;

        (b)     Failing to properly and promptly diagnose and assess Decedent’s medical conditions;

        (c)     Failing to perform and/or order necessary scans, tests and examinations to determine
                the extent and nature of Deceased’s medical conditions;

        (d)     Failing to promptly provide Decedent with reasonable and necessary medical care
                including shoreside care and the referral to appropriate specialists;

        (e)     Failing to provide Decedent with the proper follow-up medical care and medical
                treatment, including but not limited to appropriate follow-up appointments,
                medications, diagnostic testing, and therapy; and

        (f)     Other acts of negligence to be determined as discovery in this matter progresses.

        26.      As a result of the Defendant’s failure to provide prompt and adequate medical care,

 KENGGE A. EVANKS DAVIS died on April 18, 2018.

        27.      As a direct and proximate result of the Defendant’s failure to provide adequate and

 prompt medical care as herein alleged which resulted in the death of KENGGE A. EVANKS

 DAVIS, his Estate has incurred medical and funeral expenses.

        28.      As a direct and proximate result of the Defendant’s failure to provide adequate and

 prompt medical care as herein alleged which resulted in the death of KENGGE A. EVANKS

 DAVIS, the Decedent’s mother and minor child, JUANA EVANKS and ALLISON respectively,

 have each suffered losses of support and services in such amounts as will be determined upon

 further discovery or during trial.

        29.      As a direct and proximate result of the Defendant’s failure to provide adequate and

 prompt medical care as herein alleged which resulted in the death of KENGGE A. EVANKS

 DAVIS, Decedent’s minor child, ALLISON, has additionally suffered a loss of nurture and


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 guidance in an amount to be determined upon further discovery or during trial.

        WHEREFORE, Plaintiff demands a trial by jury and a judgment against the Defendant for

 any and all compensatory damages, interest, attorney’s fees, costs and all damages allowed by law

 including but not limited to other relief the Court deems appropriate.

                                             COUNT III

                        MAINTENANCE AND CURE, AND LOST WAGES

        Plaintiff re-affirm and re-alleges every allegation set forth in Paragraphs 1 through 18 and

 further allege:

        30.        The Defendant, “PRINCESS CRUISE LINES”, as the contractual employer of the

 Decedent, owed the Decedent a General Maritime non-delegable duty to provide maintenance and

 cure for any and all medical conditions the decedent, KENGGE A. EVANKS DAVIS, contracted

 while in the service of the vessel. The Defendant was also responsible to treat any medical condition

 which manifested while Decedent was convalescing shoreside.

        31.        Decedent became ill while in the employ of the Defendant and working aboard

 Defendant’s vessel, the Ruby Princess. Despite repeated requests, the Defendant refused to fully

 comply with its obligations to provide maintenance, and proper and adequate cure, to the Decedent.

        32.        Rather than providing prompt and adequate medical treatment to the Decedent

 which Defendant knew was necessary, Defendant ignored the Decedent’s repeated requests for

 maintenance and cure for timely diagnostic testing, for the interpretation of such tests, and for

 appropriate treatment. This delay resulted in the worsening of Decedent’s medical condition and the

 Decedent endured additional and undue pain, suffering, disability, loss of capacity for the

 enjoyment of life, mental distress and mental anguish and loss of wages prior to his untimely death.

 Ultimately, the delay and withholding of the Deceased’s maintenance and cure by the Defendant

 aggravated all of the Decedent’s underlying medical conditions and caused Decedent’s death.

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        33.      Any cure that Decedent did receive was inadequate, inappropriate, insufficient and

 resulted in worsening of his condition.

        34.      The Defendant acted in a willful, arbitrary and/or callous manner by ignoring

 Decedent’s need for medical treatment and maintenance and cure and by refusing to pay all of

 Decedent’s unearned wages until Decedent’s Estate was forced to hire counsel to pursue said wages

 and all of his maintenance and cure rights.

        35.      The Defendant breached its’ obligations to provide maintenance and cure to the

 Decedent and as such, Decedent never reached maximum medical improvement.

        36.      As a direct and proximate result of the Defendant’s persistent failure to provide

 maintenance and proper cure, Decedent’s medical condition persisted and worsened and as a result

 Decedent had pain and suffering, loss of enjoyment of his life, suffered mental and emotional

 distress, mental anguish, disability, impairment, incurred medical expenses in the care and treatment

 of his illness, suffered physical handicap, lost wages, loss of earning capacity, tips, and fringe

 benefits and his ability to work was impaired ultimately causing decedent’s death. In addition, the

 Decedent’s Estate incurred out of pocket expenses as a result of the Defendant’s actions including

 but not limited to medical and funeral expenses.

        37.      The Estate hired counsel to pursue his remedies and is/was obligated to pay

 attorney’s fees and costs.

        WHEREFORE, Plaintiff demands Defendant’s satisfaction of any and all unpaid wages, and

 additionally requests any compensatory damages, interest, costs, and attorney’s fees, and any other

 relief the court deems appropriate under the circumstances.




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                                                 COUNT IV

                LOSS OF SUPPORT, NURTURE, AND GUIDANCE AS TO DECEDENT’S
                      SURVIVING DAUGHTER, ALLISON D. EVANKS

          Plaintiff re-affirm and re-alleges every allegation set forth in Paragraphs 1 through 18 and

  further allege:

          38.       Plaintiff on behalf of the Decedent, “KENGGE A. EVANKS DAVIS”,

  pursuant to the United States Supreme Court in Atlantic Sounding Co. v. Townsend, 557 U.S. 404,

  129 S.Ct. 2561, 174 L. Ed. 2d 382, (2009) maintains a General Maritime claim against the

  Defendant, PRINCESS, Count III of this Complaint, for Defendant’s breaches of maintenance and

  cure to Decedent which led to his untimely death.

          39.       Decedent’s mother and executor of the estate, JUANA L. EVANKS DAVIS,

  Maintains a derivative claim for Defendant’s willful, arbitrary, and capricious breaches of

  maintenance and cure to the Decedent. (Barrette v. Jubilee Fisheries, Inc., 2011 WL 3516061

  (W.D. Was., 2011).

          40.       Decedent’s mother, JUANA L. EVANKS DAVIS, was appointed as the

  PERSONAL REPRESENTATIVE of decedent’s estate as a matter of Honduran law on October 18,

  2018.

          41.       To the extent this is a derivative claim Decedent’s surviving minor child,

  ALLISON, has suffered permanent damages as a direct and proximate result of the Decedent’s

  death which include but are not limited to, losses of nurture, guidance, support, services, love and

  affection, loss of society and companionship and protection, from the date of Decedent’s death on

  April 18, 2018, until present—in an amount to be determined upon further discovery or during

  trial—and such losses will continue permanently into the future.

          WHEREFORE, Plaintiff demands provision of all damages available to Decedent’s


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  surviving mother and minor daughter for thier losses resulting from Decedent’s death, together with

  pre and post judgment interest, costs, and attorney’s fees, and any other relief this Court deems

  appropriate under the circumstances.

                                                COUNT V

             LOSS OF SUPPORT AS TO DECEDENT’S SURVIVING MOTHER, JUANA L.
                                  EVANKS DAVIS

          Plaintiff re-affirm and re-alleges every allegation set forth in Paragraphs 1 through 18 and

  further allege:

          42.       Plaintiff on behalf of the Decedent, “KENGGE A. EVANKS DAVIS”, pursuant to

  the United States Supreme Court in Atlantic Sounding Co. v. Townsend, 557 U.S. 404, 129 S.Ct.

  2561, 174 L. Ed. 2d 382, (2009) maintains a General Maritime claim against the Defendant,

  PRINCESS, Count III of this Complaint, for Defendant’s breaches of maintenance and cure to

  Decedent which led to his untimely death.

          43.       Decedent’s mother and executor of the estate, JUANA L. EVANKS DAVIS,

  maintains a derivative claim for Defendant’s willful, arbitrary, and capricious breaches of

  maintenance and cure to the Decedent. (Barrette v. Jubilee Fisheries, Inc., 2011 WL 3516061

  (W.D. Was., 2011)

          44.       Decedent’s mother, JUANA L. EVANKS DAVIS, was appointed as the

  PERSONAL REPRESENTATIVE of decedent’s estate as a matter of Honduran law on October 18,

  2018.

          45.       To the extent this is a derivative claim Decedent’s surviving mother has suffered

  permanent damages as a direct and proximate result of the Decedent’s death which include but are

  not limited to, loss of services, loss of love and affection, loss of society and companionship and

  protection, loss of support, from the date of Decedent’s death April 18, 2018 until present and such


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  losses will continue permanently into the future.

         WHEREFORE, Plaintiff demands provision of all damages available to Decedent’s

  surviving mother for her losses resulting from Decedent’s death, together with pre and post

  judgment interest, costs, and attorney’s fees, and any other relief this Court deems appropriate under

  the circumstances.

  DATED THIS day 25th Day of March 2020.

                                                           Respectfully submitted,

                                                           Louis A. Vucci, Pa
                                                           Attorney for the Plaintiff
                                                           1 SE 3rd Avenue, Suite 3020
                                                           Miami, Florida 33131
                                                           Telephone: (305-573-0125)
                                                           Facsimile: (786-536-7799)
                                                           Louis@thevuccilawgroup.com

                                                 By:       /s Louis A. Vucci, Esq.
                                                           LOUIS VUCCI, ESQ.
                                                           Florida Bar. No.: 0131581




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